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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

BRENDA BROOKS,

            Plaintiff,
                                                 Civil Action No.: 1:13-cv-00017-JMV
   v.
                                                 NOTICE OF SETTLEMENT
HASTER LAW OFFICE, P.A.,

            Defendant.


                                   NOTICE OF SETTLEMENT

        NOW COMES Plaintiff, BRENDA BROOKS (“Plaintiff”), by and through the

undersigned counsel, and hereby informs the Court that a settlement of the present matter has

been reached and all parties to the present matter are currently in the process of executing the

aforementioned settlement agreement, which Plaintiff anticipates will be completed within the

next 60 days.

        Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

calendar for the present matter.

DATED: March 14, 2013                      RESPECTFULLY SUBMITTED,

                                           KROHN & MOSS, LTD.


                                      By: /s/ Shireen Hormozdi

                                           Shireen Hormozdi, Esq.
                                           Attorney for Plaintiff
                                           Krohn & Moss, Ltd.
                                           10474 Santa Monica Blvd., Suite 401
                                           Los Angeles, CA 90025
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                                    NOTICE OF SETTLEMENT                                      1
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2013, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

mailed to defendant at the below address:

       Michael S. Poncin
       Moss & Barnett
       4800 WELLS FARGO CENTER
       90 South Seventh Street
       Minneapolis, MN 55402

       William V. Westbrook , III
       Page, Mannino, Peresich & McDermott, P.L.L.C.
       2408 14th Street
       Gulfport, MS 39501-2019


                                            By:      /s/ Shireen Hormozdi

                                                     Shireen Hormozdi, Esq.
                                                     Attorney for Plaintiff
                                                     Krohn & Moss, Ltd.
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                                                     Fax: (866) 385-1408
                                                     Email: shormozdi@consumerlawcenter.com




                                  NOTICE OF SETTLEMENT                                           3
